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1                                               xv
2                          DEFENDANT SATISFIED WITH COUNSEL
3           Defendant has consulted with counsel and is satisfied with counsel's representation.
4
      This is Defendant's independent opinion, and her counsel did not advise Defendant about
      what to say in this regard.
                                                  RANDY S. GROSSMAN
 7                                                Acting United States Attorney

 8 9/24/2021
 9 DATED                                          VALERJE H. CHU
                                                  Assistant U.S. Atton1ey
10
      9/24/2021
11
      DATED                                       DAVID J. RAWLS
12                                                Assistant U.S. Attorney
13
14 1 FOR DEFENDANT
15
      9-24-2021
16 DATED                                          RYAN LAPINE
17                                                Counsel for Defendant
18     9-24-2021
1 9 DATED                                         DA YID WIECHERT
                                                  Counsel for Defendant
20
 21 IN ADDITION O THE FOREGOING PROVISIONS TO WHICH I AGREE, I SWEAR
    UNDER PE ALTY OF PERJURY THAT THE FACTS IN THE "FACTUAL BASIS"
 22 SECTIO ABOVE ARE TRUE.
-23
24      er 2 'i - ?o 2 \
25 DATED                                          CHARLES RONALD GREEN, JR.
26                                                Defendant

27
28
                                                  25
      Plea Agreement                                                      Def s initials ----
